                                                                              Case
                                                                     B6A (Official Form12-15822-mdc
                                                                                        6A) (12/07)                    Doc 20         Filed 07/13/12 Entered 07/13/12 15:15:47                                                          Desc Main
                                                                                                                                     Document      Page 1 of 17
                                                                     IN RE Waldman, Laura                                                                                                    Case No.
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     None
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                      TOTAL                                          0.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
                                                                              Case
                                                                     B6B (Official Form12-15822-mdc
                                                                                        6B) (12/07)                   Doc 20          Filed 07/13/12 Entered 07/13/12 15:15:47                                        Desc Main
                                                                                                                                     Document      Page 2 of 17
                                                                     IN RE Waldman, Laura                                                                                                   Case No.
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                               X
                                                                        2. Checking, savings or other financial        X
                                                                           accounts, certificates of deposit or
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Household Goods, Furnishings, Etc.                                                           C                              2,500.00
                                                                           include audio, video, and computer              826 Hillaire Road
                                                                           equipment.                                      Lacaster, Pennsylvania 17601
                                                                        5. Books, pictures and other art objects,          Books, Picutres, Arts, etc.                                                                  C                                120.00
                                                                           antiques, stamp, coin, record, tape,            826 Hillaire Road
                                                                           compact disc, and other collections or          Lancaster, Pennsylvania 17601
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Wearing Apparel                                                                            W                                  500.00
                                                                                                                           826 Hillaire Road
                                                                                                                           Lancaster, Pennsylvania 17601
                                                                        7. Furs and jewelry.                               Costume Jewelery                                                                           W                                  120.00
                                                                                                                           826 Hillaire Road
                                                                                                                           Lancaster, Pennsylvania 17601
                                                                        8. Firearms and sports, photographic,              Hobby Equipment                                                                              C                                 65.00
                                                                           and other hobby equipment.                      826 Hillaire Road
                                                                                                                           Lancaster, Pennsylvania 17601
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or           X
                                                                          other pension or profit sharing plans.
                                                                          Give particulars.
                                                                              Case
                                                                     B6B (Official Form12-15822-mdc
                                                                                        6B) (12/07) - Cont.          Doc 20      Filed 07/13/12 Entered 07/13/12 15:15:47                   Desc Main
                                                                                                                                Document      Page 3 of 17
                                                                     IN RE Waldman, Laura                                                                                       Case No.
                                                                                                                            Debtor(s)                                                                       (If known)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                                                                              OR COMMUNITY
                                                                                                                                                                                                                    CURRENT VALUE OF
                                                                                                                     N                                                                                             DEBTOR'S INTEREST IN
                                                                                                                     O                                                                                              PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                      DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                                DEDUCTING ANY
                                                                                                                     E                                                                                              SECURED CLAIM OR
                                                                                                                                                                                                                        EXEMPTION




                                                                      13. Stock and interests in incorporated        X
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint         X
                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and         X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                       X
                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor      X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and             2002 Ford Expedition                                                                                2,987.00
                                                                          other vehicles and accessories.                826 Hillaire Road
                                                                                                                         Lancaster, Pennsylvania 17601
                                                                      26. Boats, motors, and accessories.            X
                                                                      27. Aircraft and accessories.                  X
                                                                      28. Office equipment, furnishings, and         X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and        X
                                                                          supplies used in business.
                                                                      30. Inventory.                                 X
                                                                              Case
                                                                     B6B (Official Form12-15822-mdc
                                                                                        6B) (12/07) - Cont.     Doc 20     Filed 07/13/12 Entered 07/13/12 15:15:47                            Desc Main
                                                                                                                          Document      Page 4 of 17
                                                                     IN RE Waldman, Laura                                                                                Case No.
                                                                                                                      Debtor(s)                                                                                (If known)

                                                                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                                                           (Continuation Sheet)




                                                                                                                                                                                              HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                 OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                N                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                O                                                                                                      PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                N                                                                                                        DEDUCTING ANY
                                                                                                                E                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION




                                                                      31. Animals.                              X
                                                                      32. Crops - growing or harvested. Give    X
                                                                          particulars.
                                                                      33. Farming equipment and implements.     X
                                                                      34. Farm supplies, chemicals, and feed.   X
                                                                      35. Other personal property of any kind   X
                                                                          not already listed. Itemize.
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                        TOTAL                                   6,292.00
                                                                                                                                                                   (Include amounts from any continuation sheets attached.
                                                                             0 continuation sheets attached                                                                   Report total also on Summary of Schedules.)
                                                                              Case
                                                                     B6C (Official Form12-15822-mdc
                                                                                        6C) (04/10)                   Doc 20            Filed 07/13/12 Entered 07/13/12 15:15:47                               Desc Main
                                                                                                                                       Document      Page 5 of 17
                                                                     IN RE Waldman, Laura                                                                                             Case No.
                                                                                                                               Debtor(s)                                                                          (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $146,450. *
                                                                     (Check one box)

                                                                        ü11 U.S.C. § 522(b)(2)
                                                                         11 U.S.C. § 522(b)(3)

                                                                                                                                                                                                                      CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED           OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                                                                                       EXEMPTIONS

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Household Goods, Furnishings, Etc.                           11 USC § 522(d)(3)                                                  2,500.00                 2,500.00
                                                                     826 Hillaire Road
                                                                     Lacaster, Pennsylvania 17601
                                                                     Books, Picutres, Arts, etc.                                  11 USC § 522(d)(3)                                                    120.00                     120.00
                                                                     826 Hillaire Road
                                                                     Lancaster, Pennsylvania 17601
                                                                     Wearing Apparel                                              11 USC § 522(d)(3)                                                    500.00                     500.00
                                                                     826 Hillaire Road
                                                                     Lancaster, Pennsylvania 17601
                                                                     Costume Jewelery                                             11 USC § 522(d)(4)                                                    120.00                     120.00
                                                                     826 Hillaire Road
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     Lancaster, Pennsylvania 17601
                                                                     Hobby Equipment                                              11 USC § 522(d)(3)                                                      65.00                     65.00
                                                                     826 Hillaire Road
                                                                     Lancaster, Pennsylvania 17601
                                                                     2002 Ford Expedition                                         11 USC § 522(d)(2)                                                  2,987.00                 2,987.00
                                                                     826 Hillaire Road
                                                                     Lancaster, Pennsylvania 17601




                                                                     * Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                              Case
                                                                     B6D (Official Form12-15822-mdc
                                                                                        6D) (12/07)                    Doc 20                          Filed 07/13/12 Entered 07/13/12 15:15:47                                                                          Desc Main
                                                                                                                                                      Document      Page 6 of 17
                                                                     IN RE Waldman, Laura                                                                                                                       Case No.
                                                                                                                                 Debtor(s)                                                                                                                                      (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                     üCheck this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                    UNLIQUIDATED
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                                                                                                                                                 AMOUNT OF
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                   DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                         UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                       PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                                COLLATERAL




                                                                     ACCOUNT NO.




                                                                                                                                                                   Value $

                                                                     ACCOUNT NO.




                                                                                                                                                                   Value $

                                                                     ACCOUNT NO.




                                                                                                                                                                   Value $

                                                                     ACCOUNT NO.




                                                                                                                                                                   Value $
                                                                                                                                                                                                                       Subtotal
                                                                            0 continuation sheets attached                                                                                                 (Total of this page) $                                                     $
                                                                                                                                                                                                                          Total
                                                                                                                                                                                                        (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                              (Report also on         (If applicable, report
                                                                                                                                                                                                                                                              Summary of              also on Statistical
                                                                                                                                                                                                                                                              Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                      Liabilities and Related
                                                                                                                                                                                                                                                                                      Data.)
                                                                              Case
                                                                     B6E (Official Form12-15822-mdc
                                                                                        6E) (04/10)                     Doc 20          Filed 07/13/12 Entered 07/13/12 15:15:47                                          Desc Main
                                                                                                                                       Document      Page 7 of 17
                                                                     IN RE Waldman, Laura                                                                                                      Case No.
                                                                                                                                 Debtor(s)                                                                                   (If known)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.

                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                     Statistical Summary of Certain Liabilities and Related Data.

                                                                        Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     the Statistical Summary of Certain Liabilities and Related Data.

                                                                     üCheck this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).
                                                                          Taxes and Certain Other Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                          * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            0 continuation sheets attached
                                                                              Case
                                                                     B6F (Official Form12-15822-mdc
                                                                                       6F) (12/07)                     Doc 20          Filed 07/13/12 Entered 07/13/12 15:15:47                                                          Desc Main
                                                                                                                                      Document      Page 8 of 17
                                                                     IN RE Waldman, Laura                                                                                                                        Case No.
                                                                                                                                 Debtor(s)                                                                                                             (If known)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                          (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     ACCOUNT NO. 204273XXXX
                                                                     AFNI, Inc.
                                                                     404 Brock Drive
                                                                     Bloomington, IL 61702

                                                                                                                                                                                                                                                                                    854.00
                                                                     ACCOUNT NO. 4193XXXX                                                                                 October 2008
                                                                     Asset Acceptance, LLC
                                                                     P.O. Box 1630
                                                                     Warren, MI 48090

                                                                                                                                                                                                                                                                                 11,292.00
                                                                     ACCOUNT NO.
                                                                     Baltimore Gas & Electric
                                                                     P.O. Box 13070
                                                                     Philadelphia, PA 19101

                                                                                                                                                                                                                                                                                  1,335.31
                                                                     ACCOUNT NO. 4313519920XXXX
                                                                     Bank Of America
                                                                     P.O. Box 17054
                                                                     Wilmington, DE 19850

                                                                                                                                                                                                                                                                                  8,666.00
                                                                                                                                                                                                                                          Subtotal
                                                                            4 continuation sheets attached                                                                                                                    (Total of this page) $                             22,147.31
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $
                                                                              Case
                                                                     B6F (Official Form12-15822-mdc
                                                                                       6F) (12/07) - Cont.           Doc 20           Filed 07/13/12 Entered 07/13/12 15:15:47                                                          Desc Main
                                                                                                                                     Document      Page 9 of 17
                                                                     IN RE Waldman, Laura                                                                                                                       Case No.
                                                                                                                              Debtor(s)                                                                                                               (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.
                                                                     Barry Mason
                                                                     821 West Benfield Road, Suite 6
                                                                     Severna Park, MD 21146

                                                                                                                                                                                                                                                                                 5,000.00
                                                                     ACCOUNT NO. 517805267328XXXX
                                                                     Capital One
                                                                     P.O. Box 302814
                                                                     Salt Lake City, UT 84130
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                                 1,469.00
                                                                     ACCOUNT NO.                                                                                        Unsecured Judicial Lien
                                                                     Captal One Bank USA, NA
                                                                     4851 Cox Road
                                                                     Glen Allen, VA 23060

                                                                                                                                                                                                                                                                                 2,000.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Anne Arundel District Court                                                                        Captal One Bank USA, NA
                                                                     Case No. 070200071922009
                                                                     7500 Ritchie Highway
                                                                     Glen Burnie, MD 21061

                                                                     ACCOUNT NO. 549092383001XXXX
                                                                     Chase Bank
                                                                     P.O. Box 15298
                                                                     Wilmington, DE 19850

                                                                                                                                                                                                                                                                                11,701.00
                                                                     ACCOUNT NO. 403115250045XXXX
                                                                     Chase Bank
                                                                     P.O. Box 15298
                                                                     Wilmington, DE 19850

                                                                                                                                                                                                                                                                                 4,618.00
                                                                     ACCOUNT NO. BMG5
                                                                     Collection Center
                                                                     54 N. Centre Street
                                                                     Cumberland, MD 21502

                                                                                                                                                                                                                                                                                   128.00
                                                                     Sheet no.       1 of        4 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             24,916.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                              Case
                                                                     B6F (Official Form12-15822-mdc
                                                                                       6F) (12/07) - Cont.           Doc 20           Filed 07/13/12 Entered 07/13/12 15:15:47                                                           Desc Main
                                                                                                                                     Document     Page 10 of 17
                                                                     IN RE Waldman, Laura                                                                                                                        Case No.
                                                                                                                              Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                 HUSBAND, WIFE, JOINT,
                                                                                                                                                    OR COMMUNITY




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                      CODEBTOR




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 155096XXXX
                                                                     Credit Protection Associates
                                                                     13355 Noel Road
                                                                     Dallas, TX 75240

                                                                                                                                                                                                                                                                                    269.00
                                                                     ACCOUNT NO. 601100356401XXXX
                                                                     DIscover Bank
                                                                     C/O DFS Services, LLC
                                                                     6500 New Albany Road
                                                                     New Albany, OH 43054
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                                  2,844.00
                                                                     ACCOUNT NO.                                                                                         Assignee or other notification for:
                                                                     Anne Arundel District Court                                                                         DIscover Bank
                                                                     Case No. 070200140752009
                                                                     7500 Ritchie Highway
                                                                     Glen Burnie, MD 21061

                                                                     ACCOUNT NO. 3437XXXX
                                                                     Ford Motor Credit
                                                                     P.O. Box 54200
                                                                     Omaha, NE 68154

                                                                                                                                                                                                                                                                                      1.00
                                                                     ACCOUNT NO. 706159102000XXXX
                                                                     GE Money Bank/Chevron
                                                                     P.O. Box 965015
                                                                     Orlando, FL 32896

                                                                                                                                                                                                                                                                                    361.00
                                                                     ACCOUNT NO.                                                                                         Unsecured Judicial Lien
                                                                     Hillman Brown & Darrow, PA.                                                                         07/22/2010
                                                                     221 Ducke Of Cloucester Street
                                                                     Annapolis, MD 21401

                                                                                                                                                                                                                                                                                      0.00
                                                                     ACCOUNT NO.                                                                                         Assignee or other notification for:
                                                                     Anne Arundel District Court                                                                         Hillman Brown & Darrow, PA.
                                                                     Case No. 070200024392010
                                                                     7500 Ritchie Highway
                                                                     Glen Burnie, MD 21061

                                                                     Sheet no.       2 of        4 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                               (Total of this page) $                              3,475.00
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $
                                                                              Case
                                                                     B6F (Official Form12-15822-mdc
                                                                                       6F) (12/07) - Cont.           Doc 20           Filed 07/13/12 Entered 07/13/12 15:15:47                                                           Desc Main
                                                                                                                                     Document     Page 11 of 17
                                                                     IN RE Waldman, Laura                                                                                                                        Case No.
                                                                                                                              Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                 HUSBAND, WIFE, JOINT,
                                                                                                                                                    OR COMMUNITY




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                      CODEBTOR




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 5164800017XXXX
                                                                     HSBC/Household Finance Corp.
                                                                     P.O. Box 3425
                                                                     Buffalo, NY 14240

                                                                                                                                                                                                                                                                                   7,277.00
                                                                     ACCOUNT NO.
                                                                     John Robb
                                                                     C/O 1st Mariner Bank
                                                                     366A Ritchie Highway
                                                                     Severna Park, MD 21146
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                                  30,000.00
                                                                     ACCOUNT NO. 650100                                                                                  Medical Bill
                                                                     Lancaster Periodontal Associates                                                                    05/14/2012
                                                                     131 Foxshire Drive
                                                                     Lancaster, PA 17601

                                                                                                                                                                                                                                                                                   1,212.40
                                                                     ACCOUNT NO. 734405131
                                                                     NCO Financial Services
                                                                     507 Prudential Road
                                                                     Horsham, PA 19044

                                                                                                                                                                                                                                                                                    225.00
                                                                     ACCOUNT NO.
                                                                     NCO Financial Services
                                                                     507 Prudential Road
                                                                     Horsham, PA 19044

                                                                                                                                                                                                                                                                                    169.00
                                                                     ACCOUNT NO. 668101038XXXX                                                                           Foreclosure Sale
                                                                     Onewest Bank                                                                                        August 2007
                                                                     6900 Beatrice Drive
                                                                     Kalamazoo, MI 49009

                                                                                                                                                                                                                                                                                 330,905.00
                                                                     ACCOUNT NO.
                                                                     SF&C Insurance Associates, Inc.
                                                                     10075 Red Run Boulevard, Suire 550
                                                                     Owings Mills, MD 21117

                                                                                                                                                                                                                                                                                    230.00
                                                                     Sheet no.       3 of        4 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                               (Total of this page) $ 370,018.40
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $
                                                                              Case
                                                                     B6F (Official Form12-15822-mdc
                                                                                       6F) (12/07) - Cont.           Doc 20           Filed 07/13/12 Entered 07/13/12 15:15:47                                                         Desc Main
                                                                                                                                     Document     Page 12 of 17
                                                                     IN RE Waldman, Laura                                                                                                                       Case No.
                                                                                                                              Debtor(s)                                                                                                              (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                 HUSBAND, WIFE, JOINT,
                                                                                                                                                    OR COMMUNITY




                                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                      CODEBTOR




                                                                                                                                                                                                                                                                    DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                             AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                         OF
                                                                                         (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                            CLAIM




                                                                     ACCOUNT NO. 88558XXXX
                                                                     Verizon Maryland, Inc.
                                                                     550 Technology Drive
                                                                     Weldon Spring, MO 63304

                                                                                                                                                                                                                                                                                  854.00
                                                                     ACCOUNT NO.                                                                                         Unsecured Judicial Lien
                                                                     Wayric Services, Inc.                                                                               10/30/2009
                                                                     8028 Ritchie Highway, S-300
                                                                     Pasadena, CA 21122
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                                5,300.00
                                                                     ACCOUNT NO.                                                                                         Assignee or other notification for:
                                                                     Anne Arundel District Court                                                                         Wayric Services, Inc.
                                                                     Case No. 070200076052009
                                                                     7500 Ritchie Highway
                                                                     Glen Burnie, MD 21061

                                                                     ACCOUNT NO. 407110001395XXXX
                                                                     Wells Fargo Financial Cards
                                                                     P.O. BOx 14517
                                                                     Des Moines, IA 50306

                                                                                                                                                                                                                                                                                2,432.00
                                                                     ACCOUNT NO. 585637330570XXXX
                                                                     WFNNB/Spiegel
                                                                     P.O. Box 182789
                                                                     Columbus, OH 43218

                                                                                                                                                                                                                                                                                  190.00
                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       4 of        4 continuation sheets attached to                                                                                                      Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                              8,776.00
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $ 429,332.71
                                                                              Case
                                                                     B6G (Official Form12-15822-mdc
                                                                                        6G) (12/07)                     Doc 20        Filed 07/13/12 Entered 07/13/12 15:15:47                                           Desc Main
                                                                                                                                     Document     Page 13 of 17
                                                                     IN RE Waldman, Laura                                                                                                      Case No.
                                                                                                                                 Debtor(s)                                                                                  (If known)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                     contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                     lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                     such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                     üCheck this box if debtor has no executory contracts or unexpired leases.
                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                           STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only
                                                                              Case
                                                                     B6H (Official Form12-15822-mdc
                                                                                        6H) (12/07)                     Doc 20         Filed 07/13/12 Entered 07/13/12 15:15:47                                            Desc Main
                                                                                                                                      Document     Page 14 of 17
                                                                     IN RE Waldman, Laura                                                                                                       Case No.
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                                                     SCHEDULE H - CODEBTORS
                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                     of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                     name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                     üCheck this box if debtor has no codebtors.
                                                                                                NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only
                                                                               Case
                                                                     B6I (Official Form 12-15822-mdc
                                                                                        6I) (12/07)                   Doc 20        Filed 07/13/12 Entered 07/13/12 15:15:47                                             Desc Main
                                                                                                                                   Document     Page 15 of 17
                                                                     IN RE Waldman, Laura                                                                                                 Case No.
                                                                                                                               Debtor(s)                                                                                     (If known)

                                                                                                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed, unless the spouses
                                                                     are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on this form may differ from the current
                                                                     monthly income calculated on From 22A, 22B, or 22C.
                                                                      Debtor's Marital Status                                                            DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Married                                     RELATIONSHIP(S):                                                                                             AGE(S):
                                                                                                                  Son                                                                                                          17
                                                                                                                  Son                                                                                                          15




                                                                      EMPLOYMENT:                                            DEBTOR                                                                      SPOUSE
                                                                      Occupation
                                                                      Name of Employer                                                                                 Chenega Technical Innovations, LLC
                                                                      How long employed
                                                                      Address of Employer                                                                              3000 C Street, Sutie 301
                                                                                                                                                                       Anchorage, AK 99503

                                                                     INCOME: (Estimate of average or projected monthly income at time case filed)                                                           DEBTOR                            SPOUSE
                                                                     1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                    $                               $                9,253.68
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     2. Estimated monthly overtime                                                                                            $                               $
                                                                     3. SUBTOTAL                                                                                                              $                       0.00 $                   9,253.68
                                                                     4. LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                   $                               $                2,427.06
                                                                       b. Insurance                                                                                                           $                               $
                                                                       c. Union dues                                                                                                          $                               $
                                                                       d. Other (specify) See Schedule Attached                                                                               $                               $                1,439.75
                                                                                                                                                                                              $                               $
                                                                     5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $                       0.00 $                   3,866.81
                                                                     6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                       $                       0.00 $                   5,386.87

                                                                     7. Regular income from operation of business or profession or farm (attach detailed statement)                           $                               $
                                                                     8. Income from real property                                                                                             $                               $
                                                                     9. Interest and dividends                                                                                                $                               $
                                                                     10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
                                                                     that of dependents listed above                                                                                          $                   800.00 $
                                                                     11. Social Security or other government assistance
                                                                       (Specify)                                                                                                              $                               $
                                                                                                                                                                                              $                               $
                                                                     12. Pension or retirement income                                                                                         $                               $
                                                                     13. Other monthly income
                                                                       (Specify)                                                                                                              $                               $
                                                                                                                                                                                              $                               $
                                                                                                                                                                                              $                               $

                                                                     14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                       $                   800.00 $
                                                                     15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                         $                   800.00 $                     5,386.87

                                                                     16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15;
                                                                     if there is only one debtor repeat total reported on line 15)                                                                            $                6,186.87
                                                                                                                                                                                              (Report also on Summary of Schedules and, if applicable, on
                                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data)

                                                                     17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                     None
                                                                            Case 12-15822-mdc       Doc 20    Filed 07/13/12 Entered 07/13/12 15:15:47          Desc Main
                                                                                                             Document     Page 16 of 17
                                                                     IN RE Waldman, Laura                                                        Case No.
                                                                                                         Debtor(s)

                                                                                             SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                              Continuation Sheet - Page 1 of 1

                                                                                                                                                            DEBTOR      SPOUSE
                                                                     Other Payroll Deductions:
                                                                     Child Voluntary                                                                                          1.04
                                                                     DENtal Comp Emp                                                                                         37.38
                                                                     Employee Volunt                                                                                         20.87
                                                                     Med PPO Emp+F                                                                                          422.41
                                                                     Spouse Voluntar                                                                                          2.97
                                                                     Vision Employee                                                                                          5.29
                                                                     401K Savings Be                                                                                        492.07
                                                                     Group Term Life                                                                                         17.79
                                                                     PTO Accrural                                                                                            12.29
                                                                     PTO Beg Bal                                                                                            225.01
                                                                     PTO End Bal                                                                                            202.63
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only
                                                                              Case
                                                                     B6J (Official Form12-15822-mdc
                                                                                       6J) (12/07)                    Doc 20        Filed 07/13/12 Entered 07/13/12 15:15:47                                        Desc Main
                                                                                                                                   Document     Page 17 of 17
                                                                     IN RE Waldman, Laura                                                                                                  Case No.
                                                                                                                               Debtor(s)                                                                               (If known)

                                                                                               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made biweekly,
                                                                     quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income allowed
                                                                     on Form22A or 22C.
                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     1. Rent or home mortgage payment (include lot rented for mobile home)                                                                              $            2,434.00
                                                                         a. Are real estate taxes included? Yes      No ü
                                                                         b. Is property insurance included? Yes      No ü
                                                                     2. Utilities:
                                                                         a. Electricity and heating fuel                                                                                                                $              275.00
                                                                         b. Water and sewer                                                                                                                             $              110.00
                                                                         c. Telephone                                                                                                                                   $              140.00
                                                                         d. Other Cable/Internet; Trash Removal Fee                                                                                                     $              320.00
                                                                                                                                                                                                                        $
                                                                     3. Home maintenance (repairs and upkeep)                                                                                                           $               75.00
                                                                     4. Food                                                                                                                                            $              800.00
                                                                     5. Clothing                                                                                                                                        $              200.00
                                                                     6. Laundry and dry cleaning                                                                                                                        $              120.00
                                                                     7. Medical and dental expenses                                                                                                                     $               90.00
© 1993-2010 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     8. Transportation (not including car payments)                                                                                                     $              400.00
                                                                     9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                $
                                                                     10. Charitable contributions                                                                                                                       $
                                                                     11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                         a. Homeowner’s or renter’s                                                                                                                     $              130.60
                                                                         b. Life                                                                                                                                        $
                                                                         c. Health                                                                                                                                      $
                                                                         d. Auto                                                                                                                                        $              139.48
                                                                         e. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                         (Specify) Real Estate Taxes                                                                                                                    $              363.94
                                                                                                                                                                                                                        $
                                                                     13. Installment payments: (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
                                                                         a. Auto                                                                                                                                        $              384.54
                                                                         b. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     14. Alimony, maintenance, and support paid to others                                                                                               $
                                                                     15. Payments for support of additional dependents not living at your home                                                                          $
                                                                     16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                   $
                                                                     17. Other Spouses Credit Card Payments                                                                                                             $              180.00
                                                                                                                                                                                                                        $
                                                                                                                                                                                                                        $

                                                                     18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, if
                                                                     applicable, on the Statistical Summary of Certain Liabilities and Related Data.                                                                    $            6,162.56


                                                                     19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document:
                                                                     None




                                                                     20. STATEMENT OF MONTHLY NET INCOME
                                                                         a. Average monthly income from Line 15 of Schedule I                                                                                           $            6,186.87
                                                                         b. Average monthly expenses from Line 18 above                                                                                                 $            6,162.56
                                                                         c. Monthly net income (a. minus b.)                                                                                                            $               24.31
